Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 1 of 36   PageID #: 7884



                       UNITED STATES DISTRICT COURT

                             DISTRICT OF HAWAII


  UNITED STATES OF AMERICA,               CR NO. 17-00101 LEK

                   Plaintiff,

       vs.

  ANTHONY T. WILLIAMS

                   Defendant.



                           JURY INSTRUCTIONS

             The jury instructions in the numerical order as

 read to the jury are attached hereto.

             DATED:     Honolulu, Hawaii, March 2, 2020.
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 2 of 36   PageID #: 7885




                        JURY INSTRUCTION NO. 1

 Members of the Jury:

       You have now heard all of the evidence in the case

 and will soon hear the final arguments of the lawyers

 for the parties.

       It becomes my duty, therefore, to instruct you on

 the rules of law that you must follow and apply in

 arriving at your decision in the case.

       In any jury trial there are, in effect, two judges.

 I am one of the judges; the other is the jury.                    It has

 been my duty to preside over the trial and to determine

 what testimony and evidence is relevant under the law

 for your consideration.           It is now my duty to instruct

 you on the law applicable to the case.




                                       2
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 3 of 36   PageID #: 7886




                      JURY INSTRUCTION NO. 2

       You, as jurors, are the judges of the facts.                   But

 in determining what happened in this case -- that is,

 in reaching your decision as to the facts -- it is your

 sworn duty to follow the law I am now defining for you.

       You must follow all of my instructions as a whole.

 You have no right to disregard or give special

 attention to any one instruction, or to question the

 wisdom or correctness of any rule I state to you.                     That

 is, you must not substitute or follow your own notion

 or opinion as to what the law is or ought to be.                     It is

 your duty to apply the law as I give it to you,

 regardless of the consequences.

      It is also your duty to base your verdict solely

 upon the testimony and evidence in the case, without

 prejudice or sympathy. That was the promise you made

 and the oath you took before being accepted by the

 parties as jurors in this case, and they have the right

 to expect nothing less.




                                       3
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 4 of 36   PageID #: 7887




                        JURY INSTRUCTION NO. 3

       The indictment or formal charge against a defendant

 is not evidence.         The defendant is presumed to be

 innocent and does not have to present any evidence to

 prove innocence.         The government has the burden of

 proving every element of the charge beyond a reasonable

 doubt.     If it fails to do so, you must return a not

 guilty verdict.

       While the government's burden of proof is a strict

 or heavy burden, it is not necessary that the

 defendant's guilt be proved beyond all possible doubt.

 It is only required that the government's proof exclude

 any “reasonable doubt” concerning the defendant’s

 guilt.

       A reasonable doubt is a doubt based upon reason and

 common sense, and may arise from a careful and

 impartial consideration of all the evidence, or from

 lack of evidence.         Proof beyond a reasonable doubt is

 proof that leaves you firmly convinced that the

 defendant is guilty.

       If after a careful and impartial consideration with

 your fellow jurors of all the evidence, you are not
                                       4
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 5 of 36   PageID #: 7888




 convinced beyond a reasonable doubt that the defendant

 is guilty, it is your duty to find the defendant not

 guilty.     On the other hand, if after a careful and

 impartial consideration with your fellow jurors of all

 the evidence, you are convinced beyond a reasonable

 doubt that the defendant is guilty, it is your duty to

 find the defendant guilty.




                                       5
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 6 of 36   PageID #: 7889




                        JURY INSTRUCTION NO. 4

       As stated earlier, it is your duty to determine the

 facts, and in doing so, you must consider only the

 evidence I have admitted in the case.                 The term

 “evidence” includes the sworn testimony of the

 witnesses and the exhibits admitted in the record.

       Remember that any statements, objections, or

 arguments made by the attorneys and Anthony Williams

 while representing himself are not evidence in the

 case.    The function of the attorneys and Anthony

 Williams while representing himself is to point out

 those things that are most significant or most helpful

 to their side of the case, and in doing so, to call

 your attention to certain facts or inferences that

 might otherwise escape your notice.

       In the final analysis, however, it is your own

 recollection and interpretation of the evidence that

 controls in the case.           What the attorneys and Anthony

 Williams while representing himself say are not binding

 upon you.




                                       6
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 7 of 36    PageID #: 7890




                        JURY INSTRUCTION NO. 5

       Rules of evidence control what can be received into

 evidence.      During the course of trial, when a party

 asked a question or offered an exhibit into evidence

 and a party on the other side thought that it was not

 permitted by the rules of evidence, that party may have

 objected.      If I overruled an objection, the question

 was answered or the exhibit received.                 If I sustained

 an objection, the question was not answered and the

 exhibit was not received.

       Whenever I sustained an objection to a question,

 you must not speculate as to what the answer might have

 been or as to the reason for the objection.                      You must

 not consider for any purpose any offer of evidence that

 was rejected, or any evidence that was stricken from

 the record; such matter is to be treated as though you

 had never known of it.




                                       7
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 8 of 36   PageID #: 7891




                        JURY INSTRUCTION NO. 6

       During the course of the trial I may have

 occasionally made comments to the parties, or asked

 questions of a witness, or admonished a witness

 concerning the manner in which he or she should respond

 to the questions.         Do not assume from anything I said

 that I have any opinion concerning any of the issues in

 this case.      Except for my instructions to you on the

 law, you should disregard anything I said during the

 trial in arriving at your own findings as to the facts.




                                       8
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 9 of 36   PageID #: 7892




                        JURY INSTRUCTION NO. 7

       In this case, the parties have agreed, or

 stipulated, as to certain facts.               This means that they

 agree that these facts are true.               You should therefore

 treat these facts as having been conclusively proved.




                                       9
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 10 of 36   PageID #: 7893




                         JURY INSTRUCTION NO. 8

       Evidence may be direct or circumstantial.                   Direct

 evidence is direct proof of a fact, such as the

 testimony of an eyewitness.               Circumstantial evidence is

 indirect evidence, that is, proof of a chain of facts

 from which you could find that another fact exists,

 even though it has not been proved directly.

       So, while you should consider only the evidence in

 the case, you are permitted to draw such reasonable

 inferences from the testimony and exhibits as you feel

 are justified in the light of common experience.                     In

 other words, you may make deductions and reach

 conclusions which reason and common sense lead you to

 draw from the testimony and evidence in the case.

       You are to consider both direct and circumstantial

 evidence.       The law permits you to give equal weight to

 both, but it is for you to decide how much weight to

 give to any evidence.




                                      10
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 11 of 36   PageID #: 7894




                         JURY INSTRUCTION NO. 9

       Now, I have said that you must consider all of the

 evidence.       This does not mean, however, that you must

 accept all of the evidence as true or accurate.

       You are the sole judges of the credibility or

 “believability” of each witness and the weight to be

 given to his or her testimony.              In evaluating the

 testimony of a witness, you may consider:                  (1) the

 opportunity and ability of the witness to see or hear

 or know the things testified to; (2) the witness’

 memory; (3) the witness’ manner while testifying; (4)

 the witness’ interest in the outcome of the case, if

 any; (5) the witness’ bias or prejudice, if any; (6)

 whether other evidence contradicted the witness’

 testimony; (7) the reasonableness of the witness’

 testimony in light of all the evidence; and (8) any

 other factors that bear on believability.                  You may

 accept or reject the testimony of any witness in whole

 or in part.       That is, you may believe everything a

 witness says, or part of it, or none of it.




                                      11
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 12 of 36   PageID #: 7895




       Also, the weight of the evidence is not necessarily

 determined by the number of witnesses testifying as to

 the existence or non-existence of any fact.                   You may

 find that the testimony of a smaller number of

 witnesses as to any fact is more credible than the

 testimony of a larger number of witnesses to the

 contrary.




                                      12
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 13 of 36   PageID #: 7896




                        JURY INSTRUCTION NO. 10

       The defendant has testified.              You should treat this

 testimony just as you would the testimony of any other

 witness.




                                      13
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 14 of 36   PageID #: 7897




                        JURY INSTRUCTION NO. 11

       The rules of evidence provide that if scientific,

 technical, or other specialized knowledge might assist

 the jury in understanding the evidence or in

 determining a fact in issue, a witness qualified as an

 expert by knowledge, skill, experience, training, or

 education may testify and state his or her opinion

 concerning such matters.

       You should consider each expert opinion received in

 evidence in this case and give it such weight as you

 may think it deserves.           If you decide that the opinion

 of an expert witness is not based upon sufficient

 education and/or experience, or if you conclude that

 the reasons given in support of the opinion are not

 sound, or if you conclude that the opinion is

 outweighed by other evidence, then you may disregard

 the opinion entirely.




                                      14
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 15 of 36   PageID #: 7898




                        JURY INSTRUCTION NO. 12

       A witness may be discredited or impeached by

 contradictory evidence by a showing that:                  (1) the

 witness testified falsely concerning a material matter;

 or (2) at some other time, the witness said or did

 something that is inconsistent with the witness’

 present testimony; or (3) at some other time, the

 witness failed to say or do something that would be

 consistent with the present testimony had it been said

 or done.

       If you believe that any witness has been so

 impeached, then it is for you alone to decide how much

 credibility or weight, if any, to give to the testimony

 of that witness.




                                      15
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 16 of 36   PageID #: 7899




                        JURY INSTRUCTION NO. 13

       A witness may also be discredited or impeached by

 evidence that the general reputation of the witness for

 truth and veracity is bad in the community where the

 witness now resides, or has recently resided.

       If you believe that any witness has been so

 impeached, then it is for you alone to decide how much

 credibility or weight, if any, to give to the testimony

 of that witness.




                                      16
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 17 of 36   PageID #: 7900




                        JURY INSTRUCTION NO. 14

       Evidence of the defendant’s previous conviction in

 the State of Florida for the Unauthorized Practice of

 Law is to be considered by you only as it may affect

 the credibility of that defendant as a witness, and

 must never be considered as evidence of guilt of the

 crime for which that defendant is on trial.




                                      17
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 18 of 36   PageID #: 7901




                        JURY INSTRUCTION NO. 15

       You have heard testimony from Henry Malinay and

 Anabel Cabebe, witnesses who have pleaded guilty to

 crimes arising out of the same events for which the

 defendant is on trial.           These guilty pleas are not

 evidence against the defendant, and you may consider

 them only in determining these witnesses’

 believability.        You should consider these witnesses’

 testimony with greater caution than that of other

 witnesses.




                                      18
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 19 of 36   PageID #: 7902




                        JURY INSTRUCTION NO. 16

       The testimony of a law enforcement officer should

 be weighed and considered, and credibility determined,

 in the same way as that of any other witness.                     A law

 enforcement officer’s testimony is not entitled to any

 greater weight, nor should you consider it more

 credible, than any other witness’ testimony simply

 because it is given by a law enforcement officer.




                                      19
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 20 of 36   PageID #: 7903




                        JURY INSTRUCTION NO. 17
       Certain charts and summaries have been admitted in

 evidence.       Charts and summaries are only as good as the

 underlying supporting material.               You should, therefore,

 give them only such weight as you think the underlying

 material deserves.




                                      20
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 21 of 36   PageID #: 7904




                        JURY INSTRUCTION NO. 18

       The defendant is charged in Counts 1 through 15 of

 the Superseding Indictment with wire fraud in violation

 of Section 1343 of Title 18 of the United States Code.

 In order for a defendant to be found guilty of that

 charge, the government must prove each of the following

 elements beyond a reasonable doubt:

       First, the defendant knowingly participated in, or

 devised a scheme or plan to defraud, or a scheme or

 plan for obtaining money or property by means of false

 or fraudulent pretenses, representations, or promises.

 Deceitful statements of half-truths may constitute

 false or fraudulent representations;

       Second, the statements made or facts omitted as

 part of the scheme were material; that is, they had a

 natural tendency to influence, or were capable of

 influencing, a person to part with money or property;

       Third, the defendant acted with the intent to

 defraud, that is, the intent to deceive or cheat; and




                                      21
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 22 of 36   PageID #: 7905




       Fourth, the defendant used, or caused to be used,

 an interstate wire communication to carry out or

 attempt to carry out an essential part of the scheme.

       In determining whether a scheme to defraud exists,

 you may consider not only the defendants’ words and

 statements, but also the circumstances in which they

 are used as a whole.

       A wiring is caused when one knows that a wire will

 be used in the ordinary course of business or when one

 can reasonably foresee such use.

       It need not have been reasonably foreseeable to the

 defendant that the wire communication would be

 interstate in nature.           Rather, it must have been

 reasonably foreseeable to the defendant that some wire

 communication would occur in furtherance of the scheme,

 and an interstate wire communication must have actually

 occurred in furtherance of the scheme.




                                      22
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 23 of 36   PageID #: 7906




                        JURY INSTRUCTION NO. 19

       In determining whether a scheme to defraud exists,

 you are entitled to consider not only the defendant’s

 words and statements, but also the circumstances in

 which they are used as a whole.

       A defendant’s actions can constitute a scheme to

 defraud even if there are no specific false statements

 involved.       The deception need not be premised upon

 words or statements standing alone.                The arrangement of

 the words or the circumstances in which they are used

 may create an appearance which is false or deceptive,

 even if the words themselves fall short of this.                     Thus,

 even if statements as part of the scheme are not

 literally false, you may consider whether the

 statements taken as a whole were misleading and

 deceptive.       Evidence beyond a reasonable doubt that a

 scheme was reasonably calculated to deceive is

 sufficient to establish a scheme to defraud.




                                      23
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 24 of 36   PageID #: 7907




                        JURY INSTRUCTION NO. 20

       The defendant is charged in Counts 16 through 32 of

 the Superseding Indictment with mail fraud in violation

 of Section 1341 of Title 18 of the United States Code.

 In order for the defendant to be found guilty of that

 charge, the government must prove each of the following

 elements as to each defendant beyond a reasonable

 doubt:

       First, the defendant knowingly participated in or

 devised a scheme or plan to defraud, or a scheme or

 plan for obtaining money or property by means of false

 or fraudulent pretenses, representations, or promises.

 Deceitful statements of half-truths may constitute

 false or fraudulent representations.

       Second, the statements made or facts omitted as

 part of the scheme were material; that is, they had a

 natural tendency to influence, or were capable of

 influencing, a person to part with money or property;

       Third, the defendant acted with the intent to

 defraud; that is, the intent to deceive or cheat; and


                                      24
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 25 of 36   PageID #: 7908




       Fourth, the defendant used, or caused to be used,

 the mails to carry out or attempt to carry out an

 essential part of the scheme.

       In determining whether a scheme to defraud exists,

 you may consider not only the defendant’s words and

 statements, but also the circumstances in which they

 are used as a whole.

       A mailing is caused when one knows that the mails

 will be used in the ordinary course of business or when

 one can reasonably foresee such use.                 It does not

 matter whether the material mailed was itself false or

 deceptive so long as the mail was used as a part of the

 scheme, nor does it matter whether the scheme or plan

 was successful or that any money or property was

 obtained.




                                      25
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 26 of 36   PageID #: 7909




                        JURY INSTRUCTION NO. 21

       You may determine whether a defendant had an

 honest, good faith belief in the truth of the specific

 misrepresentations alleged in the indictment in

 determining whether or not the defendant acted with

 intent to defraud.          However, a defendant's belief that

 the victims of the fraud will be paid in the future or

 will sustain no economic loss is no defense to the

 crime.




                                      26
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 27 of 36   PageID #: 7910




                        JURY INSTRUCTION NO. 22

       A defendant may be found guilty of mail fraud or

 wire fraud even if the defendant personally did not

 commit the act or acts constituting the crime but aided

 and abetted in its commission.              To “aid and abet” means

 intentionally to help someone else commit a crime.                      To

 prove a defendant guilty of aiding and abetting, the

 government must prove beyond a reasonable doubt:

       First, someone else committed the charged mail

 fraud or wire fraud;

       Second, the defendant aided, counseled, commanded,

 induced or procured that person with respect to at

 least one element of mail fraud or wire fraud, with all

 of you agreeing on the element and the individual

 charge;

       Third, the defendant acted with the intent to

 facilitate the wire fraud offenses charged in Counts 1-

 15 and/or the mail fraud offenses charged in Counts 16

 through 32 of the Superseding Indictment; and

       Fourth, the defendant acted before the crime was

                                      27
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 28 of 36   PageID #: 7911




 completed.

       It is not enough that a defendant merely associated

 with the person committing the crime, or unknowingly or

 unintentionally did things that were helpful to that

 person, or was present at the scene of the crime.                      The

 evidence must show beyond a reasonable doubt that the

 defendant acted with the knowledge and intention of

 helping that person commit mail fraud or wire fraud as

 charged in Counts 1 through 32.

       A defendant acts with the intent to facilitate the

 crime when the defendant actively participates in a

 criminal venture with advance knowledge of the crime

 and having acquired that knowledge when the defendant

 still had a realistic opportunity to withdraw from the

 crime.

       The government is not required to prove precisely

 which defendant actually committed the crime and which

 defendant aided and abetted.




                                      28
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 29 of 36   PageID #: 7912




                        JURY INSTRUCTION NO. 23

       You will note that the indictment charges that the

 offenses were committed “on or about” certain dates.

 The evidence need not establish with certainty the

 exact date of an alleged offense.               It is sufficient if

 the evidence in the case establishes beyond a

 reasonable doubt that an offense was committed on a

 date reasonably near the date alleged.




                                      29
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 30 of 36   PageID #: 7913




                        JURY INSTRUCTION NO. 24

       The word “knowingly,” as that term has been used in

 these instructions, means that the act was done

 voluntarily and intentionally and not because of

 mistake or accident.




                                      30
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 31 of 36    PageID #: 7914




                        JURY INSTRUCTION NO. 25

       A separate crime or offense is charged in each

 count of the indictment.            Each charge and the evidence

 pertaining to it should be considered separately.                       The

 fact that you may find the defendant guilty or not

 guilty as to one of the offenses charged should not

 control your verdict as to any other offense charged.

       I caution you, members of the jury, that you are

 here to determine whether the defendant is guilty or

 not guilty from the evidence in this case.                   The

 defendant is not on trial for any act or conduct or

 offense not alleged in the indictment.                 Nor are you

 called upon to return a verdict as to the guilt of any

 other person or persons not on trial as a defendant in

 this case.

       Also, the punishment provided by law for the

 offenses charged in the indictment is a matter

 exclusively within the province of the judge, and

 should never be considered by the jury in any way in

 arriving at an impartial verdict.




                                      31
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 32 of 36   PageID #: 7915




                        JURY INSTRUCTION NO. 26

       Some of you took notes during the trial.                    Whether

 or not you took notes, you should rely on your own

 memory of what was said.            Notes are only to assist your

 memory.      You should not be overly influenced by your

 notes or those of other jurors.




                                      32
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 33 of 36   PageID #: 7916




                        JURY INSTRUCTION NO. 27

       Remember that even during your deliberations, my

 mandate to you still applies that you not read any news

 stories or articles, listen to any radio, or watch any

 television reports about the case or about anyone who

 has anything to do with it.               Do not do any research,

 such as consulting dictionaries, searching the

 internet, or using other reference materials, and do

 not make any investigation about the case on your own.

 And do not discuss the case in any manner with others,

 directly or through social media.               You may only discuss

 the case with your fellow jurors during your

 deliberations, with all twelve of you present.




                                      33
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 34 of 36   PageID #: 7917




                        JURY INSTRUCTION NO. 28

       Your verdict must represent the considered judgment

 of each juror. In order to return a verdict, it is

 necessary that each juror agree thereto.                  In other

 words, your verdict must be unanimous.

       It is your duty as jurors to consult with one

 another, and to deliberate in an effort to reach

 agreement if you can do so without violence to

 individual judgment.           Each of you must decide the case

 for yourself, but only after an impartial consideration

 of the evidence in the case with your fellow jurors.

 In the course of your deliberations, do not hesitate to

 re-examine your own views and change your opinion if

 convinced it is erroneous.             But do not surrender your

 honest conviction as to the weight or effect of the

 evidence solely because of the opinion of your fellow

 jurors, or for the mere purpose of returning a verdict.

       Remember at all times, you are not partisans.                    You

 are judges -- judges of the facts.                Your sole interest

 is to seek the truth from the evidence in the case.




                                      34
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 35 of 36    PageID #: 7918




                        JURY INSTRUCTION NO. 29

       Upon retiring to the jury room you should first

 select one of your number to act as your foreperson who

 will preside over your deliberations and will be your

 spokesperson here in court.               A verdict form has been

 prepared for your convenience.

        (Explain Verdict Form)

       You will take the verdict form to the jury room and

 when you have reached unanimous agreement as to your

 verdict, you will have your foreperson fill it in, date

 and sign it, and then return to the courtroom.

       If, during your deliberations, you desire to

 communicate with the court, please put your message or

 question in a note, have the foreperson sign the note,

 and pass the note to the marshal who will bring it to

 my attention.        I will then respond as promptly as

 possible, either in writing or by having you return to

 the courtroom so that I can address you orally.                         I

 caution you, however, that you should never state or

 specify your numerical division at any time.                      For

 example, you should never state that “x” number                      of


                                      35
Case 1:17-cr-00101-LEK Document 939 Filed 03/02/20 Page 36 of 36    PageID #: 7919




 jurors are leaning or voting one way and “x”                      number of

 jurors are leaning or voting another way.




                                      36
